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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

THOMAS J. SELLERS,

Defendant.                                                 No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             On June 9, 2010, the Court held a hearing regarding Defendant Sellers’

motion to appoint new counsel (Doc. 477). At that hearing, Sellers’ appointed

counsel agreed that there had indeed been a breakdown in his relationship with

Sellers and that a new counsel should be appointed for Sellers. The Court granted

Defendant’s motion to appoint new counsel (Doc. 477) and withdrew attorney Robert

Herman as his attorney. The Court directed the appointment of a CJA counsel to

represent Defendant Sellers.    The Court now APPOINTS attorney Rodney H.

Holmes as CJA counsel to represent Defendant Sellers in this matter. Attorney

Robert Herman is hereby WITHDRAWN as attorney for Defendant Sellers.

             IT IS SO ORDERED.

             Signed this 9th day of June, 2010.

                                             /s/ DavidRHer|do|
                                            Chief Judge
                                            United States District Court
